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                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 PETER LINDSTROM, D.D.S., a
 married individual,                              Case No. 1:17-CV-00440-CWD

                       Plaintiff,                 ORDER OF DISMISSAL

 v.

 GENERAL MOTORS LLC, a Delaware
 Limited Liability Company;
 ENTERPRISE RENT-A-CAR
 COMPANY OF UT, LLC, a Delaware
 Limited Liability Company; and
 ENTERPRISE HOLDINGS, INC., a
 Missouri corporation,

                       Defendants.



       The parties having filed a Stipulation of Dismissal, and good cause appearing

therefor, it is hereby ordered that the Stipulation of Dismissal (Dkt. 33) is approved, and

that this case is dismissed with prejudice and with each party to bear its own attorney fees

and costs.

       It is further ordered that the Clerk close this case.

                                                                       March 04, 2019




ORDER OF DISMISSAL - 1
